                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN
                                  GREEN BAY DIVISION


RONALD SMITH
191 Bugg Hollow Road
Gallatin, Tennessee 37066

               Plaintiff,                                    Case No.: 20-cv-34

       v.                                                    JURY TRIAL DEMANDED

RED ROCK PRODUCTIONS, LLC
2501 East Enterprise Avenue
Appleton, Wisconsin 54913

       and

COBBLESTONE PRODUCTIONS, LLC
80 B Street, Suite 204
Needham, Massachusetts 02494

       and

SEAN MCKINNEY
401 South Locust Street, Lower
Appleton, Wisconsin 54914

               Defendants


                                          COMPLAINT


       COMES NOW Plaintiff, Ronald Smith, by his counsel, WALCHESKE & LUZI, LLC, as

and for a claim against Defendants, alleges and shows to the Court as follows:

                                 JURISDICTION AND VENUE

       1.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331 because

this case involves a federal question under the Fair Labor Standards Act of 1938, as amended, 29

U.S.C. § 201 et seq. (“FLSA”).



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         2.     This Court has supplemental jurisdiction over this matter pursuant to 28 U.S.C.

§ 1367 because this case involves claims under Wisconsin’s Wage Payment and Collection Laws

(“WWPCL”), and these claims are so related in this action within such original jurisdiction that

they form part of the same case or controversy under Article III of the United States Constitution.

         3.     Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) and (c) because

Defendant(s) reside and/or operate their business in the Eastern District of Wisconsin and the

unlawful employment practices of which Plaintiff complains occurred within the Eastern District of

Wisconsin.

                                  PARTIES AND COVERAGE

         4.     Plaintiff, Ronald Smith, is an adult male resident of the State of Tennessee with a

post office address of 2501 East Enterprise Avenue, Appleton, Wisconsin 54913.

         5.     Defendant, Red Rock Productions, LLC, was, at all material times herein, a

commercial entity with a principal address of 2501 East Enterprise Avenue, Appleton, Wisconsin

54913.

         6.     Defendant, Cobblestone Productions, LLC, was, at all material times herein, a

commercial entity with a principal address of 80 B Street, Suite 204, Needham, Massachusetts

02494.

         7.     Defendant Red Rock Productions and Defendant Cobblestone Productions are

production companies operating throughout the Midwest of the United States, including in the State

of Wisconsin.

         8.     Defendant, Sean McKinney, was, at all material times herein, an individual resident

of the State of Wisconsin with a principal business address of 401 South Locust Street, Lower,

Appleton, Wisconsin 54914.




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       9.      Defendant McKinney owns, operates, and manages Defendant Red Rock

Productions and Defendant Cobblestone Productions.

       10.     During the relevant time periods as stated herein, Defendant Cobblestone

Productions was engaged in “commerce” and/or its employees were engaged in “commerce,” as

that term is defined under the FLSA.

       11.     During the relevant time periods as stated herein, Defendant Red Rock Productions

was engaged in “commerce” and/or its employees were engaged in “commerce,” as that term is

defined under the FLSA.

       12.     During the relevant time periods as stated herein, Defendant Red Rock Productions

employed more than two (2) employees.

       13.     During the relevant time periods as stated herein, Defendant Cobblestone

Productions employed more than two (2) employees.

       14.     During the relevant time periods as stated herein, Defendant Red Rock Productions’

annual dollar volume of sales or business exceeded $500,000.

       15.     During the relevant time periods as stated herein, Defendant Cobblestone

Productions’ annual dollar volume of sales or business exceeded $500,000.

       16.     During the relevant time periods as stated herein, Defendants were an “employer”

as that term is defined under the FLSA and the WWPCL.

       17.     During the relevant time periods as stated herein, Plaintiff was “employed” by

and/or an “employee” of Defendants, as these terms are defined under the FLSA and the

WWPCL.

       18.     During the relevant time periods as stated herein, Defendant McKinney was an

“employer” as that term is defined under the FLSA and/or the WWPCL.




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        19.      During Plaintiff’s employment with Defendants, Defendant McKinney supervised

Plaintiff’s day-to-day activities.

        20.      During Plaintiff’s employment with Defendants, Defendant McKinney had the

ability and authority to (and actually did), hire, terminate, promote, demote, and/or suspend

Plaintiff.

        21.      During Plaintiff’s employment with Defendants, Defendant McKinney had the

ability and authority to (and actually did), review Plaintiff’s work performance.

        22.      During Plaintiff’s employment with Defendants, Defendant McKinney established

the work rules, policies, and procedures by which Plaintiff abided while performing compensable

work for Defendants, on behalf of Defendants, and/or at Defendants’ direction.

        23.      During Plaintiff’s employment with Defendants, Defendant McKinney controlled

the terms and conditions of Plaintiff’s employment.

        24.      During Plaintiff’s employment with Defendants, Defendant McKinney established

Plaintiff’s work schedule and provided Plaintiff with work assignments and hours of work.

        25.      During Plaintiff’s employment with Defendants, Defendant McKinney tracked

and/or recorded Plaintiff’s hours of work.

        26.      During Plaintiff’s employment with Defendants, Plaintiff was engaged in

commerce or in the production of goods for commerce.

        27.      During Plaintiff’s employment with Defendants and in furtherance of his job

duties and responsibilities as part of Defendants’ business practice, Plaintiff regularly engaged in

interstate travel, compensable work with goods or products that crossed state lines, and interstate

communications and/or correspondence with Defendants’ customers, prospective customers, and

vendors.




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                                 GENERAL ALLEGATIONS

        28.     On or about October 23, 2019, Plaintiff commenced employment with Defendants

in the position of Stage Manager/Rigger as part of Defendants’ “Hometown Heroes Production”

in the State of Wisconsin.

        29.     Prior to the commencement of Plaintiff’s employment with Defendants,

Defendants agreed to compensate Plaintiff with $600 per day, or $4,200 per workweek, for any

and all compensable work performed in his position of Stage Manager/Rigger.

        30.     During Plaintiff’s employment with Defendants in the position of Stage

Manager/Rigger, Plaintiff’s primary job duty was performing manual labor by physically hauling

or moving materials and equipment and by physically constructing, setting up, and rigging the

stage(s).

        31.     During the entirety of Plaintiff’s employment with Defendants in the position of

Stage Manager/Rigger, Plaintiff reported directly to Defendant McKinney, Production Director

and owner of Defendant Red Rock Productions and Defendant Cobblestone Productions.

        32.     During the entirety of Plaintiff’s employment with Defendants in the position of

Stage Manager/Rigger, Plaintiff performed compensable work on behalf of Defendants, for

Defendants’ benefit, at Defendants’ direction, and/or with Defendants’ knowledge in the position

of Stage Manager/Rigger.

        33.     During Plaintiff’s employment with Defendants in the position of Stage

Manager/Rigger, Plaintiff frequently worked in excess of forty (40) hours per workweek.

        34.     During Plaintiff’s employment with Defendants in the position of Stage

Manager/Rigger, Plaintiff regularly and consistently performed compensable work for

approximately eighteen (18) hours per day, from approximately 8:00 a.m. to 2:00 a.m.




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       35.    During the entirety of Plaintiff’s employment with Defendants in the position of

Stage Manager/Rigger, Plaintiff was not an officer or director of Defendants.

       36.    During the entirety of Plaintiff’s employment with Defendants in the position of

Stage Manager/Rigger, no employees of Defendants reported directly to Plaintiff, and Plaintiff

did not customarily and regularly direct the work of any of Defendants’ employees.

       37.    During the entirety of Plaintiff’s employment with Defendants in the position of

Stage Manager/Rigger, Plaintiff was not employed in a commissioned sales capacity.

       38.    During the entirety of Plaintiff’s employment with Defendants in the position of

Stage Manager/Rigger, Plaintiff was not privy to confidential matters involving Defendants.

       39.    On or about November 10, 2019 was Plaintiff’s last day of work with Defendants.

       40.    During Plaintiff’s employment with Defendants, Defendants did not have an

established workweek for FLSA and/or WWPCL purposes.

       41.    During the entirety of Plaintiff’s employment with Defendants, Plaintiff was a

non-exempt employee under the FLSA and WWPCL in the position of Stage Manager/Rigger.

       42.    During the entirety of Plaintiff’s employment with Defendants, Plaintiff

performed non-exempt job duties under the FLSA and WWPCL in the position of Stage

Manager/Rigger.

       43.    During the entirety of Plaintiff’s employment with Defendants in the position of

Stage Manager/Rigger from approximately October 23, 2019 and November 10, 2019,

Defendants did not compensate Plaintiff for any hours worked or work performed.

       44.    During the entirety of Plaintiff’s employment with Defendants in the position of

Stage Manager/Rigger from approximately October 23, 2019 and November 10, 2019,




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Defendants suffered or permitted Plaintiff to work without compensating Plaintiff for any hours

worked or work performed.

       45.     During the entirety of Plaintiff’s employment with Defendants in the position of

Stage Manager/Rigger from approximately October 23, 2019 and November 10, 2019,

Defendants suffered or permitted Plaintiff to work without compensating Plaintiff with an

effective hourly rate of at least $7.25 per hour for any and all hours worked or work performed.

       46.     During the entirety of Plaintiff’s employment with Defendants in the position of

Stage Manager/Rigger from approximately October 23, 2019 and November 10, 2019 and

despite Plaintiff frequently working in excess of forty (40) hours per workweek, Defendants

suffered or permitted Plaintiff to work without compensating Plaintiff with overtime pay of time-

and-one-half of Plaintiff’s regular rate of pay for any and all hours worked in excess of forty (40)

hours in a workweek.

       47.     During the entirety of Plaintiff’s employment with Defendants in the position of

Stage Manager/Rigger from approximately October 23, 2019 and November 10, 2019,

Defendants failed to compensate Plaintiff with agreed-upon compensation for any and all hours

worked and work performed.

       48.     During the entirety of Plaintiff’s employment with Defendants in the position of

Stage Manager/Rigger from approximately October 23, 2019 and November 10, 2019,

Defendants suffered or permitted Plaintiff to work without appropriately and lawfully

compensating him for all hours worked each workweek, including but not limited to at an

overtime rate of pay for each hour worked in excess of forty (40) hours in a workweek.




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       49.     Defendants knew or should have known that Plaintiff must be compensated for all

hours worked (and for all hours Defendants suffered or permitted him to work) in a workweek in

accordance with the FLSA and WWPCL.

       50.     Defendants had a statutory duty to comply with the FLSA and WWPCL and to

remedy FLSA and WWPCL violations of which they were aware and/or of which they should

have been aware.

       51.     Defendants owe Plaintiff earned and unpaid wages for work performed during the

entirety of Plaintiff’s employment with Defendants for which Plaintiff was not properly and

lawfully compensated, in an amount that remains to be determined, plus an equal amount for

liquidated damages and attorneys’ fees and costs.

                    FIRST CAUSES OF ACTION – FLSA VIOLATIONS
                         (MINIMUM WAGE AND OVERTIME)

       52.     Plaintiff reasserts and incorporates by reference all paragraphs set forth above as if

restated herein.

       53.     Section 206(a)(1) of the FLSA regulates, among other things, the payment of an

minimum wage by employers whose employees are engaged in commerce, or engaged in the

production of goods for commerce, or employed in an enterprise engaged in commerce or in the

production of goods for commerce.

       54.     Section 207(a)(1) of the FLSA regulates, among other things, the payment of an

overtime premium by employers whose employees are engaged in commerce, or engaged in the

production of goods for commerce, or employed in an enterprise engaged in commerce or in the

production of goods for commerce.

       55.     At all times material herein, Plaintiff was entitled to the rights, protections, and

benefits provided under the FLSA, 29 U.S.C. § 201 et seq.




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       56.     Defendants intentionally violated the FLSA by failing to compensate Plaintiff

with an effective hourly rate of at least $7.25 per hour for all hours worked each workweek

during his employment with Defendants.

       57.     Defendants intentionally violated the FLSA by failing to compensate Plaintiff

with overtime premium pay for each hour worked in excess of forty (40) hours in a workweek

during his employment with Defendants because Plaintiff primarily performed non-exempt job

duties in each workweek while he was employed by Defendants and, thus, was legally entitled to

overtime pay for all hours worked beyond forty (40) in a workweek.

       58.     Defendants’ failure to properly and legally compensate Plaintiff for all

compensable work performed at a minimum rate of pay and at an overtime rate of pay during

workweeks when he worked more than forty (40) hours was willfully perpetrated. Defendants

have neither acted in good faith nor with reasonable grounds to believe that their actions and

omissions were not a violation of the FLSA, and as a result thereof, Plaintiff is entitled to recover

an award of liquidated damages in an amount equal to the amount of unpaid minimum and

overtime wages as described above pursuant to Section 216(b) of the FLSA. Alternatively,

should the Court find that Defendants acted reasonably and with good faith in failing to pay

minimum and overtime wages, Plaintiff is entitled to an award of pre-judgment interest at the

applicable legal rate.

       59.     As a result of the aforesaid willful violations of the FLSA’s provisions, minimum

wages and overtime compensation has been unlawfully withheld from Plaintiff by Defendants.

       60.     Plaintiff is entitled to damages equal to the minimum wages and overtime

compensation due and owing to him within the three (3) years preceding the date of filing of this

Complaint, ECF No. 1, plus periods of equitable tolling because Defendants acted willfully and




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knew or showed reckless disregard of whether their conduct was prohibited by the FLSA and

otherwise engaged in wrongful conduct that prevented Plaintiff from asserting his claims against

Defendants.

       61.      Pursuant to the FLSA, 29 U.S.C. § 216(b), successful Plaintiffs are entitled to

reimbursement of the costs and attorneys’ fees expended in successfully prosecuting an action

for unpaid wages.

                   SECOND CAUSES OF ACTION – WWPCL VIOLATIONS
                       (MINIMUM WAGES AND OVERTIME PAY)

       62.      Plaintiff reasserts and incorporates by reference all paragraphs set forth above as if

restated herein.

       63.      At all times material herein, Plaintiff was an employee of Defendants within the

meaning of Wis. Stat. § 109.01(1r), Wis. Stat. §103.001(5), and Wis. Stat. §104.01(2)(a).

       64.      At all times material herein, Defendants were employers of Plaintiff within the

meaning of Wis. Stat. § 109.01(2), Wis. Stat. §103.001(6), Wis. Stat. §104.01(3)(a), and Wis.

Admin. Code § DWD 272.01(5).

          65.   At all times material herein, Defendants employed Plaintiff within the meaning of

Wis. Stat. §§109.01 et seq., 103.01 et seq., 104.01 et seq., and Wis. Admin. Code § DWD

272.01.

       66.      At all times material herein, Plaintiff regularly performed activities that were an

integral and indispensable part of his principal activities without receiving compensation for

these activities at the hourly rate of $7.25 and at an overtime rate of pay for hours worked in

excess of forty (40) in a workweek.




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       67.     Defendants willfully and intentionally violated the WWPCL by failing to

compensate Plaintiff with an effective hourly rate of at least $7.25 per hour for all hours worked

each workweek during his employment with Defendants.

       68.     Defendants willfully and intentionally violated the FLSA by failing to compensate

Plaintiff with overtime premium pay for each hour worked in excess of forty (40) hours in a

workweek during his employment with Defendants because Plaintiff primarily performed non-

exempt job duties in each workweek while he was employed by Defendants and, thus, was

legally entitled to overtime pay for all hours worked beyond forty (40) in a workweek.

       69.     As set forth above, Plaintiff sustained losses in compensation as a proximate result

of Defendants’ violations. Accordingly, Plaintiff seeks damages in the amount of his unpaid

compensation, injunctive relief requiring Defendants to cease and desist from its violations of the

Wisconsin laws described herein and to comply with them, and such other legal and equitable

relief as the Court deems just and proper. Under Wis. Stat. § 109.11, Plaintiff may be entitled to

liquidated damages equal and up to fifty percent (50%) of the unpaid wages.

       70.     Plaintiff seeks recovery of attorneys’ fees and the costs of this action to be paid by

Defendants, pursuant to the WWPCL.

                   THIRD CAUSE OF ACTION – WWPCL VIOLATIONS
                     (FAILURE TO PAY AN AGREED-UPON WAGE)

       71.     Plaintiff reasserts and incorporates by reference all paragraphs set forth above as if

restated herein.

       72.     At all times material herein, Plaintiff was an employee of Defendants within the

meaning of Wis. Stat. § 109.01(1r), Wis. Stat. §103.001(5), and Wis. Stat. §104.01(2)(a).




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       73.      At all times material herein, Defendants were employers of Plaintiff within the

meaning of Wis. Stat. § 109.01(2), Wis. Stat. §103.001(6), Wis. Stat. §104.01(3)(a), and Wis.

Admin. Code § DWD 272.01(5).

       74.      At all times material herein, Defendants employed Plaintiff within the meaning of

Wis. Stat. §§109.01 et seq., 103.01 et seq., 104.01 et seq., and Wis. Admin. Code § DWD

272.01.

       75.      At all times material herein, Plaintiff regularly performed activities that were an

integral and indispensable part of his principal activities without receiving compensation for

these activities at his previously agreed-upon rate of pay with Defendants.

          76.   During Plaintiff’s employment with Defendants, Defendants failed to compensate

Plaintiff for all hours worked and work performed, including but not limited to with agreed-upon

wages as defined in Wis. Stat. § 109.01(3), by failing to compensate him with the agreed-upon

compensation of $600 per day, or $4,200 per workweek, for any and all hours worked and work

performed during his employment with Defendants, in violation of the WWPCL.

          77.   The foregoing conduct, as alleged above, constitutes willful violations of the

WWPCL.

          78.   As set forth above, Plaintiff sustained losses in compensation as a proximate result

of Defendants’ violations. Accordingly, Plaintiff seeks damages in the amount of his unpaid

compensation, injunctive relief requiring Defendants to cease and desist from its violations of the

Wisconsin laws described herein and to comply with them, and such other legal and equitable

relief as the Court deems just and proper. Under Wis. Stat. § 109.11, Plaintiff may be entitled to

liquidated damages equal and up to fifty percent (50%) of the unpaid wages.




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      79.      Plaintiff seeks recovery of attorneys’ fees and the costs of this action to be paid by

Defendants, pursuant to the WWPCL.

      WHEREFORE, Plaintiff respectfully requests that this Court:

      1. Order Defendants to make Plaintiff whole by providing reimbursement for unpaid

            wages – including but not limited to minimum wages, overtime wages, and agreed-

            upon wages – for pre-judgment and post-judgment interest, and for all times spent

            performing compensable work for which Plaintiff was not properly paid by

            Defendants under the FLSA and WWPCL;

      2. Grant to Plaintiff liquidated damages against Defendants;

      3. Grant to Plaintiff attorneys’ fees, costs, and disbursements as provided by statute; and

      4. Grant to Plaintiff whatever other relief this Court deems necessary and proper.

      PLAINTIFF DEMANDS A JURY AS TO ALL TRIABLE ISSUES

      Dated this 8th day of January, 2020

                                              WALCHESKE & LUZI, LLC
                                              Counsel for Plaintiff

                                              s/ Scott   S. Luzi             ______
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